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                                                    U.S. Department of Justice

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                                                    Distri ct of Connecticut
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                                                    October 9, 2018

Joseph DiBenedetto, Esq.
The Law Offlrce of Joseph DiBenedetto, P.C.
233 Broadway, Suite 2707
New York, New York 10279

      Re:    United Stcúes u. John Edmonds
             Case No. 3:18c RNIC)

Dear Attorney DiBenedetto:

      This letter confirms the plea agreement between your client, John Edmonds
(the "defendant"); and the United States Attorney's Office for the District of
Connecticut and the Fraud Section, Criminal Division, of the United States
Department of Justice (collectively, the "Government").

THE PLEAS AND OFFENSES

       In consideration for the benefits offered under this agreement, the defendant
agrees to waive his right to be indicted and to plead guilty to a two-count information
charging him, in Count One, with conspiracy to commit wire fraud, in violation of 18
U.S.C. $ 1343, commodities fraud, in violation of 18 U.S.C. $ 1348(1), commodities
price manipulation, in violation of 7 U.S.C. $ 13(aX2), and spoofing, in violation of 7
U.S.C. $$ 6c(aX5XC) and 13(aX2), all in violation of 18 U.S.C. $ 371; and in Count
Two, with commodities fraud, in violation of 18 U.S.C. $ 1348(1).

      The defendant understands that, to be guilty of the conspiracy offense charged
in Count One, the following essential elements must be satisfred:

       1. A conspiracy, or unlawful agreement, existed between two or more persons
          to commit wire fraud, commodities fraud, commodities price manipulation,
          and spoofing, as described in the information;
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           2. The defendant knowingly, willfully, and voluntarily   became a member of,
                or a participant in, the conspiracy; and

           3.   The defendant or one of his co-conspirators committed an overt act during
                the period of the conspiracy in an effort to further the purpose of the
                conspiracy.

       The defendant further understands that, to be guilty of the commodities fraud
offense charged in Count TWo, the following essential elements must be satisfied:

           1. The defendant    executed or attempted to execute a scheme or artifrce to
                defraud any person;

           2. The scheme to defraud was in connection with any commodity for future
                delivery, or any option on a commodity or future delivery; and

           3.   The defendant did so knowingly and with intent to defraud.

THE PENALTIES

       Imprisonment

      The conspiracy offense charged in Count One carries a maximum penalty of 5
years of imprisonment. The commodities fraud offense charged in Count Two carries
a maximum penalty of 25 years of imprisonment. Thus, the defendant faces a
maximum combined term of imprisonment for both offenses of 30 years.

       Supervised Release

       In addition, as to Count One, the Court may impose a term of supervised
release of not more than 3 years to begin aft,er any term of imprisonment. 18 U.S.C.
$ 3583. The defendant understands that, should he violate any condition of
supervised release, he may be required to serve a further term of imprisonment of up
to 2 years per violation pursuant to 18 U.S.C. $ 3583 with no credit for time already
spent on supervised release.

      As to Count Two, the Court may impose a term of supervised release of not
more than 5 years to begin after any term of imprisonment. 18 U.S.C. $ 3583. The
defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to 3 years per violation
pursuant to 18 U.S.C. $ 3583 with no credit for time already spent on supervised
release.
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       Fine

        Each offense carries a maximum fine of $250,000. The defendant is also subject
to the alternative flrne provision of 18 U.S.C. $ 3571. Under this section, the maximum
fïne that may be imposed on the defendant is the greatest of the following amounts:
(1) twice the gross gain to the defendant resulting from the offens e; (2) twice the gross
loss resulting from the offense; or (3) $ZSO,OOO.

       Special Assessment

       In addition, the defendant is obligated by 18 U.S.C. $ 3013 to pay a special
assessment of $fOO on each count of conviction, for a total of $200. The defendant
agrees to pay the special assessment to the Clerk of the Court on the day the guilty
pleas are accepted.

      Restitution

       In addition to the other penalties provided by law, the Court must also order
that the defendant make restitution under 18 U.S.C. $ 36634, and the Government
reserves its right to seek restitution on behalf of victims consistent with the
provisions of $ 36634. The scope and effect of the order of restitution are set forth in
the attached Rider Concerning Restitution. Restitution is payable immediately
unless otherwise ordered by the Court.

      Interest, penalties and fines

       Unless otherwise ordered, should the Court impose a fine or restitution of more
than $Z,SO0 as part of the sentence, interest will be charged on the unpaid balance of
the fine or restitution not paid within 15 days after the judgment date. 13 U.S.C.
$ 3612(Ð. Other penalties and fines may be assessed on the unpaid balance of a frne
or restitution pursuant to 18 U.S.C. $ 3572(h), (l) and $ 3612(g).

THE SENTENCING GUIDELINES

      Applicability

       The defendant understands that the Court is required to consider any
applicable Sentencing Guidelines as well as other factors enumerated in 18 U.S.C.
$ 3553(a) to tailor an appropriate sentence in this case and is not bound by this plea
agreement. The defendant agrees that the Sentencing Guideline determinations will
be made by the Court, by a preponderance of the evidence, based upon input from the
defendant, the Government, and the United States Probation Office. The defendant
further understands that he has no right to withdraw his guilty pleas if his sentence
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or the Guideline application is other than he anticipated, including if the sentence is
outside any of the ranges set forth in this agreement.

      Acceptance of Responsibility

       At this time, the Governmeirt agrees to recommend that the Court reduce by
two levels the defendant's adjusted offense level under $ 3E1.1(a) of the Sentencing
Guidelines, based on the defendant's prompt recognition and affirmative acceptance
of personal responsibility for the offenses. Moreover, should the defendant qualify for
a decrease under $ 3EL.L(a) and his offense leve1 determined prior to the operation of
subsection (a) is level 16 or greater, the Government will file a motion with the Court
pursuant to $ 381.1(b) which recommends that the Court reduce the defendant's
Adjusted Offense Level by one additional level based on his prompt notification of his
intention to enter pleas of guilty. The defendant understands that the Court is not
obligated to accept the Government's recommendations on the reductions.

       The above-listed recommendations are conditioned upon the defendant's
afflrrmative demonstration of acceptance of responsibility, bI (1) truthfully admitting
the conduct comprising the offenses of conviction and truthfully admitting or not
falsely denying any additional relevant conduct for which the defendant is
accountable under $'181.3 of the Sentencing Guidelines, and (2) truthfully disclosing
to the Government and the United States Probation Office personal information
requested, including the submission of a complete and truthful frnancial statement
detailing the defendant's frnancial condition. The defendant expressly authorizes the
Government to obtain a credit report concerning the defendant.

       In addition, the Government expressly reserves the right to seek denial of the
adjustment for acceptance of responsibility if the defendant engages in any acts,
unknown to the Government at the time of the signing of this agreement, which
(1) indicate that the defendant has not terminated or withdrawn from criminal
conduct or associations ($ 3E1.1 of the Sentencing Guidelines); (2) could provide a
basis for an adjustment for obstructing or impeding the administration of justice
($ 3C1.1 of the Sentencing Guidelines); or (3) constitute a violation of any condition
of release. Moreover, the Government reseryes the right to seek denial of the
adjustment for acceptance of responsibility if the defendant seeks to withdraw his
guilty pleas or takes a position at sentencing, or otherwise, which, in the
Government's assessment, is inconsistent with affrrmative acceptance of personal
responsibility. The defendant understands that he may not withdraw his pleas of
guilty if, for the reasons explained above, the Government does not make one or both
of the recommendations or seeks denial of the adjustment for acceptance of
responsibility.
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       Stipulation

      Pursuant to $ 681.4 of the Sentencing Guidelines, the defendant and the
Government have entered into the attached stipulation, which is a part of this plea
agreement. The defendant understands that this stipulation does not set forth all of
the relevant conduct and characteristics that may be considered by the Court for
purposes of sentencing. The defendant understands that this stipulation is not
binding on the Court. The defendant also understands that the Government and the
United States Probation OfTice are obligated to advise the Court of any additional
relevant facts that subsequently come to their attention.

       Information to the Court

      The Government reserves its right to address the Court with respect to an
appropriate sentence to be imposed in this case. Moreover, the Government will
discuss the facts of this case, including information regarding the defendant's
background and character, 18 U.S.C. $ 3661, with the United States Probation Offrce
and will provide the Probation Officer with access to material in its flrle, with the
exception of grand jury material.

WATVER OF RIGHTS

      The defendant acknowledges and agrees that he is knowingly, intelligently,
and voluntarily waiving the following rights:

      Waiver of Right to Indictment

       The defendant understands that he has the right to have the facts of this case
presented to a federal grand jury, consisting of between sixteen and twenty-three
citizens, twelve of whom would have to frnd probable cause to believe that he
committed the offenses set forth in the information before an indictment could be
returned. The defendant acknowledges that he is waiving his right to be indicted.

      Waiver of Trial Rioh ts anrl Conseouences of Guiltv Pleas

      The defendant understands that he has the right to be represented by an
attorney at every stage of the proceeding and, if necessary, one will be appointed to
represent him.

       The defendant understands that he has the right to plead not guilty or to
persist in that plea if it has already been made, the right to a public trial, the right
to be tried by a jury with the assistance of counsel, the right to confront and cross-
examine the witnesses against him, the right not to be compelled to incriminate
himself, the right to testify and present evidence, and the right to compel the
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attendance of witnesses to testifr in his defense. The defendant understands that by
pleading guilty he waives those rights and that, if the pleas of guilty are accepted by
the Court, there will not be a further trial of any kind.

      The defendant understands that, if he pleads guilty, the Court may ask him
questions about each offense to which he pleads guilty, and if he answers those
questions falsely under oath, on the record, and in the presence of counsel, his
answers may later be used against him in a prosecution for perjury or making false
statements.
      'Waiver
                of Statute of Limitations

       The defendant expressly agrees to waive any defense or objection to his guilty
pleas based on the statute of limitations applicable to the charges in the information.

      'Waiver
                of Venue

       The defendant expressly agrees to waive, for purposes of any charges by the
Government arising out of the conduct described in the information, any defense or
objection with respect to venue.

      Waiver of Rieht to Challense Convictions

        The defendant acknowledges that under certain circumstances he is entitled
to challenge his convictions. By pleading guilty, the defendant waives his right to
appeal or collaterally attack his convictions in any proceeding, including but not
limited to a motion under 28 U.S.C. ç 2255 and./or ç 2241. In addition to any other
claims he might raise, the defendant waives his right to challenge his convictions
based on (1) any non-jurisdictional defects in the proceedings before entry of these
pleas, (2) a claim that any statute(s) to which the defendant is pleading guilty is
unconstitutional, and (3) a claim that the admitted conduct does not fall within the
scope of the statute. This waiver does not preclude the defendant from raising a claim
of ineffective assistance of counsel in an appropriate forum.

      Waiver of Right to Appeal or Collaterall]¡ Attack Sentence

      The defendant acknowledges that under certain circumstances, he is entitled
to challenge his sentence. In consideration for the benefits offered under this
agreement, the defendant agrees not to appeal or collaterally attack the sentence in
any proceeding, including but not limited to a motion under 28 U.S.C. ç 2255 and/or
ç 2241if that sentence does not exceed 30 years of imprisonment, a 3-year term of
supervised release, a $ZOO special assessment, and a $250,000 fine, even if the Court
imposes such a sentence based on an analysis different from that specified above. The
Government and the defendant agree that this waiver applies regardless of whether
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the term of imprisonmeút is imposed to run consecutively to or concurrently with, in
whole or in part, the undischarged portion of any other sentence that has been
imposed on the defendant at the time of sentencing in this case. Furthermore, the
parties agree that any challenge to the defendant's sentence that is not foreclosed by
this provision will be limited to that portion of the sentencing calculation that is
inconsistent with (or not addressed by) this waiver. This waiver does not preclude the
defendant from raising a claim of ineffective assistance of counsel in an appropriate
forum.

ACKNOWLEDGMENT OF GUILT AND VOLLINTARINESS OF PLEAS

       The defendant acknowledges that he is entering into this agreement and is
pleading guilty freely and voluntarily because he is guilty. The defendant further
acknowledges that he is entering into this agreement without reliance upon any
discussions between the Government and him (other than those described in the plea
agreement letter), without promise of benefrt of any kind (other than the concessions
contained in the plea agreement letter), and without threats, force, intimidation, or
coercion of any kind. The defendant further acknowledges his understanding of the
nature of the offenses to which he is pleading guilty, including the penalties provided
by law. The defendant also acknowledges his complete satisfaction with the
representation and advice received from his undersigned attorney. The defendant
and his undersigned counsel are una\Mare of any conflict of interest concerning
counsel's representation of the defendant in the case.

SCOPE OF THE AGREEMENT

       The defendant acknowledges that this agreement is limited to the undersigned
parties and cannot bind any other federal authority, or any state or local authority.
The defendant acknowledges that no representations have been made to him with
respect to any civil or administrative consequences that may result from the pleas of
guilty because such matters are solely within the province and discretion of the
specific administrative or governmental entity involved. Finally, the defendant
acknowledges that this agreement has been reached without regard to any civil tax
matters that may be pending or which may arise involving him.

COLI,ATERAL CONSEQIIENCE             S

       The defendant understands that he will be adjudicated guilty of each offense
to which he has pleaded guilty and will be deprived of certain rights, such as the right
to hold public offrce, to serve on a jury, to possess firearms and ammunition, and in
some states, the right to vote. Further, the defendant understands that if he is not a
citizen of the United States, any plea of guilty may result in removal from the United
States, denial of citizenship, and denial of admission to the United States in the
future. The defendant understands that pursuant to section 203(b) of the Justice For
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AII Act, the Federal Bureau of Prisons or the United States Probation Offrce will
collect a DNA sample from the defend,ant for analysis and indexing. Finally, dhe
defendant understands that the Government reserves the right to noti$'any state or
federal agency by which he is licensed, or with which he does business, as well as any
current or future employer of the fact of his convictions.

       The defendant understands that, by pleading guilty to Count One of the
information, which charges a conspiracy to violate, among other laws, 7 U.S.C. $ 13,
he will be suspended from registration under that chapter and shall be denied
registration or re-registration for frve years or such longer period as the U.S.
Commodity Futures Trading Commission ("CFTC") may determine, and barred from
using, or participating in any manner in, any market regulated by the CFTC for five
years or such longer period as the CFTC shall determine, on such terms and
conditions as the CFTC may prescribe, unless the CFTC determines otherwise. The
defendant understands that nothing in this plea agreement alters the CFTC's
statutory authority or discretion to effect any such suspension, denial, or bar against
him, or otherwise binds the CFTC in any way. The defendant nevertheless affirms
that he wishes to plead guilty regardless of any collateral consequences that his pleas
may entail under 7 U.S.C. $ 13, or other applicable laws relating to the CFTC's
authority over the defendant.

SATISFACTION OF FEDERAL CRIMINAL LIABILITY: BREACH

      The defendant's guilty pleas, if accepted by the Court, will satisfy the federal
criminal liability of the defendant in the District of Connecticut, and with the Fraud
Section, Criminal Division, as a result of his participation in the conduct which forms
the basis of the information in this case.

       The defendant understands that if, before sentencing, he violates any term or
condition of this agreement, engages in any criminal activity, or fails to appear for
sentencing, the Government may void all or part of this agreement. If the agreement
is voided in whole or in part, the defendant will not be permitted to withdraw his
guilty plea.

       The defendant acknowledges that, notwithstanding any prior agreement with
the Government, should he violate any of the conditions of this agreement, or move
to withdraw his guilty pleas, (i) the facts set forth in the stipulation attached to this
agreement shall be admissible as substantive evidence in any criminal or civil
proceeding brought against the defendant; (ii) all statements made by the defendant
to the Government or other designated law enforcement agents, all testimony given
by the defendant before a grand jury or other tribunal, whether prior to or subsequent
to the signing of this agreement, and any leads from such statements or testimony,
shall be admissible in evidence in any criminal or civil proceeding brought against
the defendant; and (iii) the defendant shall assert no claim under the United States
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Constitution, the United States Sentencing Guidelines, any statute, Rule 410 of the
Federal Rules of Evidence, Rule 11(Ð of the Federal Rules of Criminal Procedure, or
any other federal rule that the facts set forth in the stipulation attached to this
agreement or any statements made by the defendant or any leads derived from such
statements should be suppressed or are otherwise inadmissible. The defendant
understands that the intent of this agreement is to waive aII rights in the foregoing
respects.

NO OTHER PROMISES

       The defendant acknowledges that no other promises, agreements, or conditions
have been entered into other than those set forth in this plea agreement, and none
will be entered into unless set forth in writing, signed by all the parties.
      This letter shall be presented to the Court, in open court, and frled in this case.

Very truly yours,

SANDRA MOSER                                       JOHN H. DURIIAM
Acting Chief, Fraud Section                        United States Attorney


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MATTHEW F. SULLIVAN                                AVI M
Trial Attorney, Fraud Section                      Assistant United States Attorney
U.S. Department of Justice

      The defendant certifies that he has read this plea agreement letter and its
attachment(s) or has had it read or translated to him, that he has had ample time to
discuss this agreement and its attachment(s) with counsel and that he fully
            and accepts its terms.


                                                      tolq I tr
J      ED                                      Date
              t
      I have thoroughly read, reviewed and explained this plea agreement and its
attachment(s) to my client who advises me that he understands and accepts its terms.



JOSEPH D                   ESQ                 Date
Attorney for the Defendant
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   STIPUI,ATION OF OFFENSE CONDUCT AND RELEVANT CONDUCT

       The defendant and the Government stipulate to the following offense conduct
and relevant conduct that give rise to the defendant's agreement to plead guilty to
the information:

        At all relevant times, the defendant was employed as a precious metals trader
at a U.S. bank that was headquartered in New York (the "Bank"). From no later than
2009 until no earlier than 2015, the defendant conspired with other precious metals
traders at the Bank to engage in wire fraud, commodities fraud, commodities price
manipulation, and spoofing, all for the common benefit of the traders and the Bank
itself.

       Among other means of achieving the objects of the conspiracy, the defendant
and his fellow traders routinely placed bids and offers-in other words, orders-for
precious metals futures contracts with the intent to cancel those bids and offers before
execution (the "Spoof Orders"). This trading strateg;r was intended to, and did,
transmit materially false and misleading liquidity and price information and
otherwise deceive other market participants about the existence of supply and
demand for the futures contracts at issue, and thus induce those other market
participants to trade against orders that the defendant and his co-conspirators placed
and did want to execute on the opposite side of the market from the Spoof Orders at
prices, qriantities, and times that the other market participants otherwise would not
have traded. The Spoof Orders thus were designed to, and did, artificially move the
price of precious metals futures contracts in a direction that was favorable to the
defendant and his co-conspirators at the Bank, to the detriment of other market
participants, including other market participants in Connecticut. The defendant
placed the Spoof Orders in order to make money and avoid losses for himsetf, his
co-conspirators, and the Bank. The defendant learned this deceptive trading strategy
from more senior traders at the Bank, and he personally deployed this strategy
hundreds of times with the knowledge and consent of his immediate supervisors.

        The Spoof Orders constituted interstate wire communications because they
were electronically placed by the defendant and his co-conspirators from computers
at the Bank's office in New York onto the New York Mercantile Exchange, Inc.
("NYMEX") and Commodity Exchange, Inc. ("COMEX"), which \Mere commodities
exchanges operated by the CME Group Inc., a commodities marketplace located in
Illinois. At all relevant times, I\-YI\4EX and COMEX were registered entities with the
U.S. Commodity Futures Trading Commission. As described in the preceding
paragraph, the materially false and misleading information that the defendant and
his co-conspirators injected into the market by placing the Spoof Orders was relied
upon by other market participants, including in Connecticut, to their detriment.
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       As one example of this deceptive trading strategy, on or about October 12,
2012, at approximately 1:08:48.831 p.m. (Central Daylight Time), the defendant
placed an order to sell 402 silver futures contracts at the per-contract price of $33.610
with the intent to cancel the order before execution. The purpose of this Spoof Order
was to induce other market participants to trade against the defendant's opposite-
side order to buy silver futures contracts, which order the defendant did want to
execute. The defendant's Spoof Order did, in fact, cause other market participants to
react and trade at prices, quantities, and times that they otherwise would not have
traded, but for the defendant's Spoof Order, including a precious metals trader in
Connecticut who sold a single silver futures contract at 1:08:48.837 p.m. at the price
of $33.585.

      This written stipulation is part of the plea agreement. The defendant and the
Government reserve their right to present additional offense conduct and relevant
conduct to    Court in connection with sentencing



      ED          S                      AVI M.
    Defendant                            Assistant United States Attorney



                                               /t{hrFsXÞ
                            , ESQ        MATTHEW F. SULLTVAN
Attorney for the Defendant               Trial Attorney, Fraud Section
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      The Court shall order that the defendant make restitution under 18 U.S.C
$ 36634 as follows:

1. If the offense resulted in damage to or loss or destruction    of property of a victim
     of the offense:

 A.     Return the property to the owner of the property or someone designated by the
        owner; or

 B      If return of the property is impossible, impracticable, or inadequate, pay an
        amount equal to:

        The greater of-
        (I) the value of the property on the date of the damage, loss, or destruction; or

        (II) the value of the property on the date of sentencing, less the value as of the
            date the property is returned.

2. In any case, reimburse the victim for lost income and necessary child car.e,
      transportation, and other expenses incurred during participation in the
        investigation or prosecution ofthe offense or attèndance at proceedings related
        to the offense.

       The order of restitution has the effect of a civil judgment against the defendant.
In addition to the Court-ordered restitution, the Court may order that the conditions
of its order of restitution be made a condition of probation or supervised release.
Failure to make restitution as ordered may result in a revocation of probation, 18
U.S.C. $ 3565, or a modification of the conditions of supervised release, 18 U.S.C.
$ 3583(e). Failure to pay restitution may also result in the defendant being held in
contempt, or the defendant's re-sentencing to any sentence which might originally
have been imposed by the Court. See 18 U.S.C. $$ 36134, 3614. The Court may also
order that the defendant give notice to any victim(s) of his offense under 18 U.S.C.
$ 3555.
